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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

CaseNo. SACR 19-00047-JLS Date June 24, 2021

 

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

Interpreter None

 

 

 

Melissa Kunig Debbie Gale Mark Takla
Deputy Clerk Court Reporter/Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust Bond Attorneys for Defendants: Present App. Ret.
Stephen William Beal Xx Xx Michael Schachter (DFPD) xX Xx
Joseph Trigilio (DFPD) Xx Xx
Amy Karlin (DFPD) Xx Xx
Jason Hannan (DFPD) Xx X

PROCEEDINGS: DEFENDANT'S SEALED MOTION TO COMPEL DISCOVERY AND
DISCLOSURE [163]

Motion hearing held. The Court heard oral argument from the parties. For the reasons
stated on the record, the courtroom is sealed for the proceedings and the transcript shall remain
sealed until further order of the Court.

As stated on the record, a hearing re: discovery deadline compliance is scheduled for
September 8, 2021 at 4:30 PM. The Government shall keep Defendant apprised of its progress in
producing Brady and Rule 16 materials and provide that discovery on a rolling basis.

Moreover, in his Response to the Government's Invocation of the Classified Information
Procedures Act (“CIPA”), Defendant requested “a forum for addressing the Court, in camera, about
how certain evidence or materials potentially implicating CIPA relate to the defense’s case, including
potential pretrial motions (such as discovery and suppression motions) and potential defenses at
trial.” (Doc. 203 at 2.) As also stated on the record, any briefing Defendant wishes to submit on that
topic must be filed within 21 days of this Order’s issuance. This Order shall constitute approval to
file any such briefing under seal and in camera.

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Initials of Deputy Clerk mku

 

 

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